
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a1110-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a1111-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1116-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1117-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1140-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1160-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0110-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1190-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5110-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1210-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1410-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1510-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1710-15.pdf (mistyped character)


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